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                                 16
                                                                   UNITED STATES DISTRICT COURT
                                 17
                                                                      DISTRICT OF PUERTO RICO
                                 18
                                      JESSIE SERRANO on her own behalf and         CASE NO.:
                                 19   on behalf of JOZEF MANGUAL
                                      SERRANO, a minor, individually and on        CLASS ACTION
                                 20   behalf of all others similarly situated,
                                 21                  Plaintiffs,                   COMPLAINT

                                 22          v.
                                                                                   DEMAND FOR JURY TRIAL
                                 23   INMEDIATA CORP., a Delaware
                                 24   corporation, INMEDIATA HEALTH
                                      GROUP CORP., a Puerto Rico corporation,
                                 25   and DOES 1 to 10, inclusive,

                                 26                         Defendants.
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                                 1           Plaintiff Jessie Serrano, on her own behalf and on behalf of her minor child, Jozef
                                 2    Mangual Serrano (“Plaintiffs”), individually and on behalf of all others similarly situated, brings
                                 3    this action based upon her and her son’s personal knowledge as to themselves and their own
                                 4    acts, and as to all other matters upon information and belief, based upon, inter alia, the
                                 5    investigation of their attorneys.
                                 6                                        NATURE OF THE ACTION
                                 7           1.      Defendants Inmediata Corp. and Inmediata Health Group, Corp., (“Defendants”
                                 8    or “Inmediata”) operate a medical clearinghouse which forwards claims information from
                                 9    healthcare providers to insurance payers, and also provides other information solutions to
                                 10   medical providers and insurers.       Millions of patients count on Inmediata to handle their
                                 11   sensitive medical and personal information with care.
                                 12          2.      These patients reasonably expect the highest level of protection for their private
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                                 13   identifiable information, when giving highly sensitive information such as their Social Security
                                 14   numbers and medical information to medical providers and insurers. What these patients do not
                                 15   expect, and did not expect, was that their personal and sensitive information would be harvested
                                 16   by unauthorized individuals.
                                 17          3.      Plaintiffs, individually and on behalf of those similarly situated persons
                                 18   (hereafter, “Class Members”), bring this class action to secure redress against Defendants for
                                 19   their reckless and negligent violation of patient privacy rights. Plaintiffs and Class Members

                                 20   are individuals whose billings were handled by Inmediata and were exposed by the data breach.
                                 21          4.      Plaintiffs and Class Members suffered significant injuries and damages. On
                                 22   information and belief, the security breach compromised the full names, addresses, dates of
                                 23   birth, gender, medical claim information, and social security numbers (referred to collectively
                                 24   as “PII”) of Plaintiffs and the Class Members.
                                 25          5.      As a result of Defendants’ wrongful actions and inactions, unauthorized

                                 26   individuals gained access to and harvested Plaintiffs’ and Class Members’ PII. Plaintiffs have
                                 27   been forced to take remedial steps to protect themselves from future loss. Indeed, all Class
                                 28   Members are currently at a very high risk of identity theft and/or credit fraud, and prophylactic
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                                 1    measures, such as the purchase of credit monitoring, are reasonable and necessary to prevent
                                 2    and mitigate future loss.
                                 3           6.      As a result of Defendants’ wrongful actions and inactions, patient information
                                 4    was stolen. Many individuals whose billings were handled by Inmediata have had their PII
                                 5    compromised, have had their privacy rights violated, have been exposed to the risk of fraud and
                                 6    identify theft, and have otherwise suffered damages.
                                 7           7.      Further, despite the fact that the breach was discovered in January 2019,
                                 8    Defendants did not begin notifying their customers of the event until April 22, 2019.
                                 9    Defendants did take efforts to reach some of the affected persons on that date; however, many
                                 10   breach victims reported receiving multiple letters, some of which were addressed to the wrong
                                 11   person, indicating that Defendants did not in fact reach all persons affected by the breach at that
                                 12   time, and may not ever have reached them.
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                                 13                                           THE PARTIES
                                 14          8.      Plaintiff Jessie Serrano is a Puerto Rico citizen residing in San Juan, Puerto Rico.
                                 15   Plaintiff Jozef Mangual Serrano is a minor living in Puerto Rico, whose interests in this lawsuit
                                 16   are being represented by his mother, Jessie Serrano. Plaintiffs received medical care, the billing
                                 17   for which was handled by Inmediata, pursuant to which Inmediata obtained Plaintiffs’ PII.
                                 18   Plaintiffs were third-party beneficiaries to contracts between Inmediata and insurers, and/or
                                 19   between Inmediata and medical providers, which contained privacy policies protecting their PII.

                                 20          9.      Plaintiffs are informed and believe that, as a result of the data breach that took
                                 21   place at Inmediata, Plaintiffs’ PII was accessed by hackers. As a result, Plaintiffs have to
                                 22   purchase credit and personal identity monitoring services to alert them to potential
                                 23   misappropriation of their identity and to combat risk of further identity theft. At a minimum,
                                 24   therefore, Plaintiffs have suffered compensable damages because they will be forced to incur
                                 25   the cost of a monitoring service, which is a reasonable and necessary prophylactic step to

                                 26   prevent and mitigate future loss. Exposure of Plaintiffs’ PII as a result of the data breach has
                                 27   placed them at imminent, immediate and continuing risk of further identity theft-related harm.
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                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1           10.      Defendant Inmediata Corp. is a Delaware corporation with its principal offices
                                 2    located in Charlotte, North Carolina.
                                 3           11.      Defendant Inmediata Health Group Corp. is a Puerto Rico corporation with its
                                 4    principal offices in San Juan, Puerto Rico.
                                 5           12.      Plaintiffs are unaware of the true names, identities, and capacities of the
                                 6    defendants sued herein as DOES 1 to 10. Plaintiffs will seek leave to amend this complaint to
                                 7    allege the true names and capacities of DOES 1 to 10 if and when ascertained. Plaintiffs are
                                 8    informed and believe, and thereupon allege, that each of the defendants sued herein as a DOE is
                                 9    legally responsible in some manner for the events and happenings alleged herein and that each
                                 10   of the defendants sued herein as a DOE proximately caused injuries and damages to Plaintiffs
                                 11   and Class Members as set forth below.
                                 12          13.      At all times Defendants acted as alter egos of each other such that the corporate
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                                 13   entity must be bypassed to avoid an injustice. Defendants operate a single business, offering
                                 14   clearinghouse and other payment and informational services to medical providers and insurers,
                                 15   through a single website, https://portal.inemdiata.com, on which two headquarters are
                                 16   identified, one in San Juan, Puerto Rico, and one in Charlotte, NC. The same officers represent
                                 17   both companies. Defendants are thus operated as a single entity. On information and belief, the
                                 18   entities commingle funds and other assets, fail to maintain adequate records of minutes, are
                                 19   owned and controlled by the same parties, operate as a mere shell, instrumentality, or conduit of

                                 20   each other, disregard legal formalities, and fail to maintain an arm’s length relationship.
                                 21          14.      As used herein, “Defendants” shall refer to Inmediata and Does 1 to 10,
                                 22   collectively.
                                 23                                   JURISDICTION AND VENUE
                                 24          15.      This Court has subject matter jurisdiction over the claims asserted herein
                                 25   pursuant to the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), since some of the Class

                                 26   Members are citizens of a State different from the Defendants, there are more than 100 putative
                                 27   class members, and the amount in controversy exceeds $5 million.
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                                 1            16.      The Court has personal jurisdiction over Defendants because Plaintiffs’ and
                                 2    Class Members’ claims arise out Defendants’ business activities conducted in Puerto Rico,
                                 3    which is listed as one of two headquarters on Defendants’ website.
                                 4            17.      Venue is appropriate in this District because, among other things: (a) Plaintiffs
                                 5    resides in this District, (b) Defendants maintain offices in this District, where they conduct
                                 6    substantial business; (c) Defendants directed their activities at residents in this District; and (d)
                                 7    many of the acts and omissions that give rise to this Action took place in this judicial District.
                                 8            18.      Venue is further appropriate in this District pursuant to 28 U.S.C. § 1391 because
                                 9    Defendants conduct a large amount of their business in this District, and because Defendants
                                 10   have substantial relationships in this District.
                                 11                                     FACTUAL ALLEGATIONS
                                 12       A. The Data Breach
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                                 13           19.      Defendants Inmediata operate a medical clearinghouse which provides
                                 14   healthcare reimbursement process solutions to medical providers and insurers. In January,
                                 15   2019, Inmediata “discovered that some electronic health information was left exposed online by
                                 16   a webpage setting that allowed search engines to index Inmediata’s internal webpages used for
                                 17   business      operations.”    https://healthitsecurity.com/news/mailing-error-for-inmediata-while-
                                 18   reporting-health-data-breach. The Department of Health and Human Services has reported that
                                 19   1,565,338 patients were impacted by the breach. Id.

                                 20           20.      On April 22, 2019, over three months later, Defendants began sending letters to
                                 21   the breach victims to inform them of the data breach. However, many of these victims reported
                                 22   receiving multiple letters, some of which were addressed to the wrong recipient, indicating that
                                 23   many of the intended recipients of the letters did not receive the notification, and indeed never
                                 24   have.
                                 25           21.      Defendants made repeated promises and representations to their clients, which

                                 26   formed a part of their contracts with those clients, that they would protect Plaintiffs’ and the
                                 27   Class Members’ PII from disclosure to third parties, including taking appropriate steps to
                                 28   safeguard their electronic databases. Plaintiffs and the Class Members were the intended third
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                                 1    party beneficiaries of those promises since it was their PII, and not Inmediata’s or their clients’,
                                 2    which was being purportedly safeguarded and since it was Plaintiffs and the Class Members,
                                 3    and not any other party, who would suffer the consequences of a data breach. A motivating
                                 4    purpose of the promise to protect Plaintiffs’ and the Class Members’ PII was thus to provide the
                                 5    benefit of data security to Plaintiffs and the Class Members. Further, permitting Plaintiffs and
                                 6    the Class Members to bring their own breach of contract action here is consistent with the
                                 7    objectives of the contracts and the reasonable expectations of the contracting parties because, as
                                 8    the medical providers and insurers cannot sue Inmediata, and as Plaintiff and the Class
                                 9    Members cannot sue the medical providers and insurers, for disclosing the patients’ PII, there is
                                 10   no way for Plaintiffs and the Class Members to obtain redress for the breach of contract without
                                 11   allowing them to sue on their own behalf.
                                 12             22.    Defendants promised that they would not disclose Plaintiffs’ and the Class
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                                 13   Members’ PII to any unauthorized third parties. In fact, they allowed hackers to obtain it.
                                 14      B. Defendants Had an Obligation to Protect Personal Information under Federal Law.
                                 15             23.    Defendants are entitles covered by HIPAA (see 54 C.F.R. § 160.102) and as such
                                 16   are required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160 and
                                 17   Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health
                                 18   Information”).
                                 19             24.    HIPAA limits the permissible uses of “protected health information” and

                                 20   prohibits unauthorized disclosures of “protected health information.” 45 C.F.R. § 164.502
                                 21   (2009).     HIPAA also requires that Defendants implement appropriate safeguards for this
                                 22   information. 45 C.F.R. § 164.530(c)(1) (2009). HIPAA additionally requires that Defendants
                                 23   provide notice of a breach of unsecured protected health information, which includes protected
                                 24   health information that is not rendered unusable, unreadable, or indecipherable—i.e. non-
                                 25   encrypted data—to unauthorized third parties.        45 C.F.R. § 164.404 (2009); 45 C.F.R. §

                                 26   164.402 (2009).
                                 27             25.    Additionally, HIPAA requires that Defendants:
                                 28             (a) Implement technical policies and procedures for electronic information systems that
                                                                                  6
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                                                   maintain electronic protected health information to allow access only to those
                                 1                 persons or software programs that have been granted access rights, see 45 C.F.R. §
                                 2                 164.312(a)(1);

                                 3           (b) Implement policies and procedures to prevent, detect, contain, and correct security
                                                 violations, see 45 C.F.R. § 164.306(a)(1);
                                 4
                                 5
                                             (c) Protect against any reasonably anticipated threats or hazards to the security or
                                 6               integrity of electronic protected health information, see 45 C.F.R. § 164.306(a)(2);

                                 7           (d) Protect against reasonably anticipated uses or disclosures of electronic protected
                                                 health information that are not permitted under the privacy rules regarding
                                 8               individually identifiable health information, see 45 C.F.R. § 164.306(a)(3);
                                 9           (e) Ensure compliance with the HIPAA security standard rules by its workforce, see 45
                                 10              C.F.R. § 164.306(a)(4); and

                                 11          (f) Effectively train all members of its workforce on the policies and procedures with
                                                 respect to protected health information as necessary and appropriate for the members
                                 12              of its workforce to carry out their functions and to maintain security of protected
                                                 health information in violation of 45 C.F.R. § 164.530(b).
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                                 13
                                 14          26.      Defendants are prohibited by the Federal Trade Commission Act (15 U.S.C. §
                                 15   45) from engaging in “unfair or deceptive acts or practices in or affecting commerce.” The
                                 16   Federal Trade Commission has found that a company’s failure to maintain reasonable and
                                 17   appropriate data security for consumers’ sensitive personal information is an “unfair practice” in
                                 18   violation of the Federal Trade Commission Act. See, e.g., FTC v. Wyndham Worldwide Corp.,
                                 19   799 F.3d 236, 243 (3d Cir. 2015).

                                 20      D. Applicable Standards of Care
                                 21          27.      In addition to their obligations under federal law, Defendants owed a duty to
                                 22   Plaintiffs and the Class Members to exercise reasonable care in obtaining, retaining, securing,
                                 23   safeguarding, deleting, and protecting the PII in their possession from being compromised, lost,
                                 24   stolen, accessed, and misused by unauthorized persons. Defendants owed a duty to Plaintiffs
                                 25   and the Class Members to provide reasonable security, including consistency with industry

                                 26   standards and requirements, and to ensure that their computer systems and networks, and the
                                 27   personnel responsible for them, adequately protected the PII of Plaintiffs and the Class
                                 28   Members.
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                                 1           28.     Defendants owed a duty to Plaintiffs and the Class Members to design, maintain,
                                 2    and test their computer system to ensure that the PII in Defendants’ possession was adequately
                                 3    secured and protected.
                                 4           29.     Defendants owed a duty to Plaintiffs and the Class Members, to create and
                                 5    implement reasonable data security practices and procedures to protect the PII in their
                                 6    possession, including adequately training their employees and others who accessed PII within
                                 7    their computer systems on how to adequately protect PII.
                                 8           30.     Defendants owed a duty to Plaintiffs and the Class Members to implement
                                 9    processes that would detect a breach of their data security systems in a timely manner.
                                 10          31.     Defendants owed a duty to Plaintiffs and the Class Members to act upon data
                                 11   security warnings and alerts in a timely fashion.
                                 12          32.     Defendants owed a duty to Plaintiffs and the Class Members to disclose if their
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                                 13   computer systems and data security practices were inadequate to safeguard individuals’ PII
                                 14   from theft because such an inadequacy would be a material fact in the decision to purchase
                                 15   insurance or other health care services from Defendants’ or to entrust PII with Defendants.
                                 16          33.     Defendants owed a duty to Plaintiffs and the Class Members to disclose in a
                                 17   timely and accurate manner when data breaches occurred.
                                 18          34.     Defendants owed a duty of care to Plaintiffs and the Class Members because
                                 19   they were foreseeable and probable victims of any inadequate data security practices.

                                 20   Defendants received the PII from other parties with the understanding that Plaintiffs and the
                                 21   Class Members expected their PII to be protected from disclosure. Defendants knew that a
                                 22   breach of its data systems would cause Plaintiffs and the Class Members to incur damages.
                                 23      E. Stolen Information Is Valuable to Hackers and Thieves
                                 24          35.     It is well known, and the subject of many media reports, that PII is highly
                                 25   coveted and a frequent target of hackers. Especially in the technology industry, the issue of data

                                 26   security and threats thereto is well known. Despite well-publicized litigation and frequent
                                 27   public announcements of data breaches, Defendants maintained an insufficient and inadequate
                                 28   system to protect the PII of Plaintiffs and Class Members.
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                                 1           36.     Legitimate organizations and members of the criminal underground alike
                                 2    recognize the value of PII. Otherwise, they would not aggressively seek and pay for it. As
                                 3    previously seen in one of the world’s largest data breaches, hackers compromised the card
                                 4    holder data of 40 million of Target’s customers.          See “Target: 40 million credit cards
                                 5    compromised,”         CNN          Money,        Dec.      19,      2013,       available       at
                                 6    http://money.cnn.com/2013/12/18/news/companies
                                 7    /target-credit-card/. DataCoup is, in contrast, just one example of a legitimate business that
                                 8    pays users for personal information.            See http://money.com/money/3001361/datacoup-
                                 9    facebook-personal-data-privacy/.
                                 10          37.     PII is highly valuable to hackers. Identity thieves use stolen PII for a variety of
                                 11   crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud. PII that is
                                 12   stolen from the point of sale are known as “dumps.” See Krebs on Security April 16, 2016,
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                                 13   Blog Post, available at https://krebsonsecurity.com/2016/04/all-about-fraud-how-crooks-get-
                                 14   the-cvv/. PII can be used to clone a debit or credit card. Id.
                                 15          38.     Once someone buys PII, it is then used to gain access to different areas of the
                                 16   victim’s digital life, including bank accounts, social media, and credit card details. During that
                                 17   process, other sensitive data may be harvested from the victim’s accounts, as well as from those
                                 18   belonging to family, friends, and colleagues.
                                 19          39.     In addition to PII, a hacked email account can be very valuable to cyber

                                 20   criminals. Since most online accounts require an email address not only as a username, but also
                                 21   as a way to verify accounts and reset passwords, a hacked email account could open up a
                                 22   number of other accounts to an attacker.1
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                                       Identity Theft and the Value of Your Personal Data, Trend Micro (Apr. 30, 2015),
                                      https://www.trendmicro.com/vinfo/us/security/news/online-privacy/identity-theft-and-the-
                                 28   value-of-your-personal-data.
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                                 1           40.    As shown below, a hacked email account can be used to link to many other
                                 2    sources of information for an identity thief, including any purchase or account information
                                 3    found in the hacked email account.2
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                                 20          41.    Hacked information can also enable thieves to obtain other personal information
                                 21   through “phishing.” According to the Report on Phishing available on the United States,
                                 22   Department of Justice’s website: “AT&T, a large telecommunications company, had its sales
                                 23   system hacked into, resulting in stolen order information including full names and home
                                 24   addresses, order numbers and credit card numbers. The hackers then sent each customer a
                                 25   highly personalized e-mail indicating that there had been a problem processing their order and

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                                 27
                                      2
                                       Brian Krebs, The Value of a Hacked Email Account, Krebs on Security (June 13, 2013, 3:14
                                 28   PM), https://krebsonsecurity.com/2013/06/the-value-of-a-hacked-email-account/.
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                                 1    re-directing them to a spoofed website where they were prompted to enter further information,
                                 2    including birthdates and Social Security numbers.”3
                                 3          D. The Data Breach Has Resulted and Will Result in Identity Theft and Identity Fraud
                                 4             42.    Defendants failed to implement and maintain reasonable security procedures and
                                 5    practices appropriate to protect the PII of Plaintiffs and Class Members.
                                 6             43.    The ramifications of Defendants’ failure to keep Plaintiffs’ and Class Members’
                                 7    PII secure is severe. According to Javelin Strategy and Research, “one in every three people
                                 8    who is notified of being a potential fraud victim becomes one . . . with 46% of consumers who
                                 9    had cards breached becoming fraud victims that same year.” “Someone Became an Identity
                                 10   Theft Victim Every 2 Seconds Last Year,” Fox Business, Feb. 5, 2014 available at
                                 11   http://www.foxbusiness.com/personal-finance/2014/02/05/someone-became-identitytheft-
                                 12   victim-every-2-seconds-last-year.html.
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                                 13            44.    In the case of a data breach, simply reimbursing a consumer for a financial loss
                                 14   due to fraud does not make that individual whole again. On the contrary, after conducting a
                                 15   study, the Department of Justice’s Bureau of Justice Statistics (“BJS”) found that “among
                                 16   victims who had personal information used for fraudulent purposes, 29% spent a month or more
                                 17   resolving problems.” See “Victims of Identity Theft,” U.S. Department of Justice, Dec 2013,
                                 18   available at https://www.bjs.gov/content/pub/pdf/vit12.pdf.        In fact, the BJS reported,
                                 19   “resolving the problems caused by identity theft [could] take more than a year for some

                                 20   victims.” Id. at 11.
                                 21            45.    A person whose PII has been obtained and compromised may not know or
                                 22   experience the full extent of identity theft or fraud for years. It may take some time for the
                                 23   victim to become aware of the theft or fraud. In addition, a victim may not become aware of
                                 24   fraudulent charges when they are nominal, because typical fraud-prevention algorithms fail to
                                 25   capture such charges. Those charges may be repeated, over and over again, on a victim’s

                                 26   account, without notice for years.
                                 27
                                 28   3
                                          https://www.justice.gov/archive/opa/docs/report_on_phishing.pdf
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                                 1            46.      The damage from PII exposure is particularly acute in the medical context. A
                                 2    study by Experian found that the “average total cost” of medical identity theft is “about
                                 3    $20,000” per incident, and that a majority of victims of medical identity theft were forced to pay
                                 4    out-of-pocket costs for healthcare they did not receive in order to restore coverage. See Elinor
                                 5    Mills, Study: Medical identity theft is costly for victims, CNET (Mar. 3, 2010, 5:00 a.m.),
                                 6    https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/. Almost half of
                                 7    medical identity theft victims lose their healthcare coverage as a result of the incident, while
                                 8    nearly one-third saw their insurance premiums rise, and forty percent were never able to resolve
                                 9    their identity theft at all. Id.
                                 10       F. Annual Monetary Losses from Identity Theft are in the Billions of Dollars
                                 11           47.      According to the BJS, an estimated 17.6 million people were victims of one or
                                 12   more incidents of identity theft in 2014. Among identity theft victims, existing bank or credit
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                                 13   card accounts were the most common types of misused information. Id.
                                 14           48.      Javelin Strategy and Research reports that losses from identity theft reached $21
                                 15   billion in 2013. There may be a time lag between when harm occurs and when it is discovered,
                                 16   and also between when PII is stolen and when it is used. According to the U.S. Government
                                 17   Accountability Office (“GAO”), which conducted a study regarding data breaches:
                                 18           [L]aw enforcement officials told us that in some cases, stolen data may be held
                                 19           for up to a year or more before being used to commit identity theft. Further, once
                                              stolen data have been sold or posted on the Web, fraudulent use of that
                                 20           information may continue for years. As a result, studies that attempt to measure
                                              the harm resulting from data breaches cannot necessarily rule out all future harm.
                                 21
                                 22   See GAO, Report to Congressional Requesters, at 33 (June 2007), available at
                                 23   http://www.gao.gov/new.items/d07737.pdf.
                                 24           49.      As a result of the data breach, Plaintiffs and Class Members now face years of
                                 25   constant surveillance of their financial and personal records, monitoring, and loss of rights.
                                 26   Plaintiffs and Class Members are also subject to a higher risk of phishing and pharming where
                                 27   hackers exploit information, they already obtained in an effort to procure even more PII.
                                 28   Plaintiffs and Class Members are presently incurring and will continue to incur such damages in
                                                                                   12
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                                 1    addition to any fraudulent credit and debit card charges incurred by them and the resulting loss
                                 2    of use of their credit and access to funds, whether or not such charges are ultimately reimbursed
                                 3    by the credit card companies. In addition, Plaintiffs and Class Members now run the risk of
                                 4    unauthorized individuals creating credit cards in their names, taking out loans in their names,
                                 5    and engaging in other fraudulent conduct using their identities.
                                 6       G. Plaintiffs and Class Members Suffered Damages
                                 7           50.     The exposure of Plaintiffs’ and Class Members’ PII to unauthorized third-party
                                 8    hackers was a direct and proximate result of Defendants’ failure to properly safeguard and
                                 9    protect Plaintiffs’ and Class Members’ PII from unauthorized access, use, and disclosure, as
                                 10   required by their contracts with Plaintiffs and the Class Members, and state and federal law.
                                 11   The data breach was also a result of Defendants’ failure to establish and implement appropriate
                                 12   administrative, technical, and physical safeguards to ensure the security and confidentiality of
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                                 13   Plaintiffs’ and Class Members’ PII in order to protect against reasonably foreseeable threats to
                                 14   the security or integrity of such information, also required by their contracts and state and
                                 15   federal law
                                 16          51.     Plaintiffs’ and Class Members’ PII is private and sensitive in nature and was
                                 17   inadequately protected by Defendants.        Defendants did not obtain Plaintiffs’ and Class
                                 18   Members’ consent to disclose their PII, except to certain persons not relevant to this action, as
                                 19   required by applicable law and industry standards.

                                 20          52.     As a direct and proximate result of Defendants’ wrongful actions and inaction
                                 21   and the resulting data breach, Plaintiffs and Class Members have been placed at an imminent,
                                 22   immediate, and continuing risk of harm from identity theft and identity fraud, requiring them to
                                 23   take the time and effort to mitigate the actual and potential impact of the subject data breach on
                                 24   their lives by, among other things, placing “freezes” and “alerts” with credit reporting agencies,
                                 25   contacting their financial institutions, closing or modifying financial accounts, and closely

                                 26   reviewing and monitoring their credit reports and accounts for unauthorized activity.
                                 27          53.     Defendants’ wrongful actions and inaction directly and proximately caused the
                                 28   theft and dissemination into the public domain of Plaintiffs’ and Class Members’ PII, causing
                                                                                13
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                                 1    them to suffer, and continue to suffer, economic damages and other actual harm for which they
                                 2    are entitled to compensation, including:
                                 3           a.     The improper disclosure, compromising, and theft of their PII;
                                 4           b.     The imminent and certainly impending injury flowing from potential fraud and
                                 5                  identity theft posed by their PII being placed in the hands of unauthorized third-
                                 6                  party hackers and misused via the sale of Plaintiffs’ and Class Members’
                                 7                  information on the Internet black market;
                                 8           c.     The untimely and inadequate notification of the data breach;
                                 9           d.     Ascertainable losses in the form of out-of-pocket expenses and the value of their
                                 10                 time reasonably incurred to remedy or mitigate the effects of the data breach; and
                                 11          e.     Ascertainable losses in the form of deprivation of the value of their PII, for which
                                 12                 there is a well-established national and international market.
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                                 13   ///
                                 14                                 CLASS ACTION ALLEGATIONS
                                 15          54.     Plaintiffs bring this action on their own behalf and on behalf of all others
                                 16   similarly situated under Rule 23(a), (b)(3), and (c)(4) of the Federal Rules of Civil Procedure.
                                 17   The Class is divided into two Classes as follows:
                                 18
                                                     The Puerto Rico Class:
                                 19
                                                     All persons residing in the Territory of Puerto Rico whose Personal
                                 20                  Identifying Information was compromised as a result of the breach
                                                     discovered by Inmediata Corp. and/or Inmediata Health Group Corp. in
                                 21                  January 2019.
                                 22
                                                     The National Class:
                                 23
                                                     All persons residing in the United States whose Personal Identifying
                                 24                  Information was compromised as a result of the breach discovered by
                                                     Inmediata Corp. and/or Inmediata Health Group Corp. in January 2019.
                                 25

                                 26          55.     Excluded from the Class are: (a) Defendants, including any entity in which any

                                 27   of the Defendants has a controlling interest, is a parent or a subsidiary of, or which is controlled

                                 28   by any of the Defendants; (b) the officers, directors, and legal representatives of Defendants;
                                                                                 14
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                                 1    and (c) the judge and the court personnel in this case as well as any members of their immediate
                                 2    families. Plaintiffs reserves the right to amend the definition of the Class if discovery, further
                                 3    investigation and/or rulings by the Court dictate that it should be modified.
                                 4           56.     Numerosity. The members of the Class are so numerous that the joinder of all
                                 5    Class Members is impractical. While the exact number of Class Members is unknown to
                                 6    Plaintiffs at this time, given the number of persons reported to be affected by the breach, it
                                 7    stands to reason that the number of Class Members is in the millions. Class Members are
                                 8    readily identifiable from information and records in Defendants’ possession, custody, or control,
                                 9    such as account information.
                                 10          57.     Commonality and Predominance. There are questions of law and fact common to
                                 11   Class Members, which predominate over any questions affecting only individual Class
                                 12   Members. These common questions of law and fact include, without limitation:
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                                 13                  a. Whether Defendants owed a duty of care to Plaintiffs and Class Members
                                 14                      with respect to the security of their PII;
                                 15                  b. What security measures must be implemented by Defendants to comply with
                                 16                      their duty of care;
                                 17                  c. Whether Defendants met the duty of care owed to Plaintiffs and the Class
                                 18                      Members with respect to the security of the PII;
                                 19                  d. Whether Defendants have a contractual obligation to Plaintiffs and Class

                                 20                      Members to use reasonable security measures;
                                 21                  e. Whether Defendants have complied with any contractual obligation to use
                                 22                      reasonable security measures;
                                 23                  f. What security measures must be implemented by Defendants to comply with
                                 24                      their contractual obligations to use reasonable security measures;
                                 25                  g. Whether Defendants’ acts and omissions described herein violated the

                                 26                      HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160 and Part 164,
                                 27                      Subparts A and E.
                                 28                  h. Whether Defendants’ acts and omissions described herein violated the
                                                                                 15
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                                 1                       Federal Trade Commission Act (15 U.S.C. § 45);
                                 2                   i. What security measures, if any, must be implemented by Defendants to
                                 3                       comply with its contractual and statutory obligations;
                                 4                   j. The nature of the relief, including equitable relief, to which Plaintiffs and
                                 5                       Class Members are entitled; and
                                 6                   k. Whether Plaintiffs and Class Members are entitled to damages, civil penalties
                                 7                       and/or injunctive relief.
                                 8           58.     Typicality. Plaintiffs’ claims are typical of those of other Class Members because
                                 9    Plaintiffs’ PII, like that of each of the other Class Members, was exposed and/or improperly
                                 10   disclosed by Defendants.
                                 11          59.     Adequacy of Representation. Plaintiffs will fairly and adequately represent and
                                 12   protect the interests of the Class Members.          Plaintiffs have retained competent counsel
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                                 13   experienced in litigation of class actions, including consumer and data breach class actions, and
                                 14   Plaintiffs intend to prosecute this action vigorously. Plaintiffs and Class Members have a
                                 15   unified and non-conflicting interest in pursuing the same claims and obtaining the same relief.
                                 16   Therefore, all Class Members will be fairly and adequately represented by Plaintiffs and their
                                 17   counsel.
                                 18          60.     Superiority of Class Action. A class action is superior to other available methods
                                 19   for the fair and efficient adjudication of the claims alleged in this action. The adjudication of

                                 20   this controversy through a class action will avoid the possibility of inconsistent and potentially
                                 21   conflicting adjudications of the asserted claims. There will be no difficulty in the management
                                 22   of this action as a class action, and the disposition of the claims of the Class Members in a
                                 23   single action will provide substantial benefits to all parties and to the Court. Damages for any
                                 24   individual Class Member are likely insufficient to justify the cost of individual litigation so that,
                                 25   in the absence of class treatment, Defendants’ violations of law inflicting substantial damages in

                                 26   the aggregate would go un-remedied.
                                 27          61.     Class certification is also appropriate because Defendants have acted or refused
                                 28   to act on grounds generally applicable to the Class Members, such that final injunctive relief or
                                                                                 16
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                                 1    corresponding declaratory relief is appropriate as to the Class as a whole.
                                 2
                                                                        FIRST CAUSE OF ACTION
                                 3
                                                          (Breach of Express And/or Implied Contractual Promise)
                                 4
                                             62.     Plaintiffs repeat and incorporate herein by reference each and every allegation
                                 5
                                      contained in paragraphs 1 through 61, inclusive, of this Complaint as if set forth fully herein.
                                 6
                                             63.     Defendants were parties to contracts with Plaintiffs’ and the Class Members’
                                 7
                                      medical providers and/or insurers, pursuant to which Defendants obtained Plaintiffs’ and the
                                 8
                                      Class Members’ PII for the purposes of billing and/or claims processing.
                                 9
                                             64.     As a part of these contracts, Defendants promised to maintain adequate
                                 10
                                      safeguards to protect the PII from disclosure to unauthorized third parties, and also promised
                                 11
                                      not to disclose the PII to unauthorized third parties.
                                 12
                                             65.     Plaintiffs and the Class Members were the intended third party beneficiaries of
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                                 13
                                      these promises since it was their PII, and not their medical providers’ or insurers’, which was
                                 14
                                      promised to be safeguarded and since it was Plaintiffs and the Class Members, and not their
                                 15
                                      medical providers or insurers, who would suffer the consequences of a data breach.                 A
                                 16
                                      motivating purpose of the promise to protect Plaintiffs’ and the Class Members’ PII was thus to
                                 17
                                      provide the benefit of data security to Plaintiffs and the Class Members.
                                 18
                                             66.     Further, permitting Plaintiffs and the Class Members to bring their own breach of
                                 19
                                      contract action here is consistent with the objectives of the contract and the reasonable
                                 20
                                      expectations of the contracting parties because, as the medical providers and insurers cannot sue
                                 21
                                      Defendants for disclosing their patients’ PII, and as Plaintiffs and the Class Members cannot sue
                                 22
                                      their medical providers and insurers for the data breach, there is no way for Plaintiffs and the
                                 23
                                      Class Members to obtain redress for the breach of contract without allowing them to sue on
                                 24
                                      their own behalf.
                                 25
                                             67.     Accordingly, Defendants’ promises to safeguard and protect the PII are
                                 26
                                      contractually binding upon Defendants with regard to Plaintiffs and each of the Class members.
                                 27
                                             68.     The contractual duty to protect and safeguard Plaintiffs’ and the Class Members’
                                 28
                                                                                 17
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                                 1    PII, which Defendants promised to undertake, was, even apart from the language of the
                                 2    contracts, a term of the contracts by operation of law under the HIPAA Privacy Rule and
                                 3    Security Rule, 45 C.F.R. Part 160 and Part 164, Subparts A and E., and under Federal Trade
                                 4    Commission Act (15 U.S.C. § 45). Under applicable common law, all laws in place at the time
                                 5    a contract is entered which are relevant to the subject matter of that contract become binding
                                 6    terms of the contract. Therefore, the HIPAA Privacy Rule and Security Rule, and the FTCA
                                 7    also formed a contractual term in each of Defendants’ contracts with Plaintiffs’ and the Class
                                 8    Members’ medical providers and insurers.
                                 9           69.     Finally, the promise to safeguard and protect Plaintiffs’ and the Class Members’
                                 10   PII, and keep that PII from being accessed by third parties, was implied as a matter of law
                                 11   because Defendants and the other contracting parties entered their agreements with the
                                 12   expectation and implied mutual understanding that Defendants would strictly maintain the
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                                 13   confidentiality of the PII and safeguard it from theft or misuse.
                                 14          70.     Therefore, Plaintiffs and Class Members are third-party beneficiaries of the
                                 15   contracts between Defendants and Plaintiffs’ and the Class Members’ medical providers and/or
                                 16   insurers in which Defendants agreed to: (a) implement and maintain reasonable security
                                 17   procedures to protect Plaintiffs’ and Class Members’ personal information from unauthorized
                                 18   access, destruction, use, modification, or disclosure; and (b) prevent unauthorized third parties
                                 19   from obtaining access to Plaintiffs’ and Class Members’ PII.

                                 20          71.     Plaintiffs’ and the Class Members’ medical providers and/or insurers would not
                                 21   have provided and entrusted the PII to Defendants in the absence of the proper security
                                 22   safeguards and the promise to keep their PII safe.
                                 23          72.     Plaintiffs’ and the Class Members’ medical providers and/or insurers fully
                                 24   performed their obligations under their agreements with Defendants.
                                 25          73.     Defendants breached the contractual promises by failing to: (a) implement and

                                 26   maintain reasonable security procedures to protect Plaintiffs’ and Class Members’ PII from
                                 27   unauthorized access, destruction, use, modification, or disclosure; and (b) prevent unauthorized
                                 28   third parties from obtaining access to Plaintiffs’ and Class Members’ PII.
                                                                                 18
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                                 1           74.       Plaintiffs’ and the Class Members’ expectation was that their PII would be
                                 2    safeguarded and protected. Therefore, they agreed to pricing terms with their medical providers
                                 3    and/or insurers to which they would not have agreed had they known that their PII would not be
                                 4    protected. Further, due to the fact that their PII was not protected, Plaintiffs and the Class
                                 5    Members incurred losses associated with the loss of PII privacy, including theft, identity theft,
                                 6    and the risk of theft and identity theft, along with the necessity of cancelling credit cards and
                                 7    paying for additional protection through the market.
                                 8           75.       As a direct and proximate result of Defendants’ breaches of the contractual
                                 9    promises alleged herein, Plaintiffs and Class Members sustained actual losses and damages in
                                 10   an amount according to proof at trial but in excess of the minimum jurisdictional requirement of
                                 11   this Court.
                                 12   ///
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                                 13   ///
                                 14   ///
                                                                      SECOND CAUSE OF ACTION
                                 15
                                                             (Breach of Covenant of Good Faith and Fair Dealing)
                                 16
                                             76.       Plaintiffs repeat and incorporate herein by reference each and every allegation
                                 17
                                      contained in paragraphs 1 through 75, inclusive, of this Complaint as if set forth fully herein.
                                 18
                                             77.       Applicable law implies a covenant of good faith and fair dealing in every
                                 19
                                      contract.
                                 20
                                             78.       Plaintiffs and Class Members were the third-party beneficiaries of contracts
                                 21
                                      between their medical providers and/or insurers and Defendants.
                                 22
                                             79.       The contracting medical providers and/or insurers performed all of their duties
                                 23
                                      under their agreements with Defendants.
                                 24
                                             80.       All of the conditions required for Defendants’ performance under the contracts
                                 25
                                      have occurred.
                                 26
                                             81.       Incorporated in the contracts as a matter of law was the covenant of good faith
                                 27
                                      and fair dealing, which prevents a contracting party from engaging in conduct that frustrates the
                                 28
                                                                                  19
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                                 1    other party’s rights to the benefits of the agreement. The implied covenant imposes on a
                                 2    contracting party not only the duty to refrain from acting in a manner that frustrates
                                 3    performance of the contract, but also the duty to do everything that the contract presupposes that
                                 4    the contracting party will do to accomplish its purposes.
                                 5           82.     Here the implied covenant of good faith and fair dealing required Defendants,
                                 6    under the terms of their agreement which stated that Defendants would protect the PII, to
                                 7    safeguard and protect from disclosure to third parties the PII of Plaintiffs and the Class
                                 8    Members which was turned over to Defendants only for the purposes of performing or
                                 9    procuring professional services. Plaintiffs and the Class Members could not enjoy Defendants’
                                 10   services without the safeguarding and protection of the PII.
                                 11          83.     Defendants breached the covenant of good faith and fair dealing implied in their
                                 12   contracts by engaging in the following conscious and deliberate acts: (a) failing to implement
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                                 13   and maintain reasonable security procedures to protect Plaintiffs’ and Class Members’ PII from
                                 14   unauthorized access, destruction, use, modification, or disclosure; and (b) failing to ensure that
                                 15   unauthorized parties were not provided access to Plaintiffs’ and Class Members’ PII.
                                 16   Defendants’ failure to protect the PII of Plaintiffs and Class Members frustrated Plaintiffs’ and
                                 17   the Class Members’ rights to the benefit of their medical providers’ and/or insurers’ bargains
                                 18   with Defendant, to enjoy the professional services of Defendant without incurring risks of
                                 19   property and identity theft.

                                 20          84.     Plaintiffs and Class Members have lost the benefit of their medical providers’
                                 21   and/or insurers’ contracts by having their PII compromised and have been placed at an
                                 22   imminent, immediate and continuing risk of identity theft-related harm.
                                 23          85.     As a direct and proximate result of Defendants’ breach of the covenant of good
                                 24   faith and fair dealing, Plaintiffs and Class Members have suffered injury and are entitled to
                                 25   damages in an amount to be proven at trial but in excess of the minimum jurisdictional

                                 26   requirement of this Court.
                                 27
                                                                       THIRD CAUSE OF ACTION
                                 28
                                                                                   20
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                                 1                                                (Negligence)
                                 2              86.    Plaintiffs repeat and incorporate herein by reference each and every allegation
                                 3    contained in paragraphs 1 through 85, inclusive, of this Complaint as if set forth fully herein.
                                 4              87.    As described above, Defendants owed Plaintiffs and the Class Members duties of
                                 5    care in the handling of PII, which duties included keeping that PII safe and preventing
                                 6    disclosure of that PII to all unauthorized third parties.
                                 7              88.    Additionally, Defendants owed a duty to Plaintiffs and the Class Members to
                                 8    implement and maintain reasonable security procedures and practices to safeguard Plaintiffs’
                                 9    and Class Members’ PII as required by HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part
                                 10   160 and Part 164, Subparts A and E, and Federal Trade Commission Act (15 U.S.C. § 45). This
                                 11   legal duty arises outside of any contractual, implied or express, responsibilities that Defendants
                                 12   had between Plaintiffs and Class Members, as it is completely independent of any contract.
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                                 13             89.    HIPAA limits the permissible uses of “protected health information” and
                                 14   prohibits unauthorized disclosures of “protected health information.” 45 C.F.R. § 164.502
                                 15   (2009).     HIPAA also requires that Defendants implement appropriate safeguards for this
                                 16   information. 45 C.F.R. § 164.530(c)(1) (2009). HIPAA additionally requires that Defendants
                                 17   provide notice of a breach of unsecured protected health information, which includes protected
                                 18   health information that is not rendered unusable, unreadable, or indecipherable—i.e. non-
                                 19   encrypted data—to unauthorized third parties.         45 C.F.R. § 164.404 (2009); 45 C.F.R. §

                                 20   164.402 (2009).
                                 21             90.     Additionally, HIPAA requires that Defendants:
                                                (a) Implement technical policies and procedures for electronic information systems that
                                 22             maintain electronic protected health information to allow access only to those persons or
                                 23             software programs that have been granted access rights, see 45 C.F.R. § 164.312(a)(1);
                                                (b) Implement policies and procedures to prevent, detect, contain, and correct security
                                 24             violations, see 45 C.F.R. § 164.306(a)(1);
                                                (c) Protect against any reasonably anticipated threats or hazards to the security or
                                 25             integrity of electronic protected health information, see 45 C.F.R. § 164.306(a)(2);
                                                (d) Protect against reasonably anticipated uses or disclosures of electronic protected
                                 26
                                                health information that are not permitted under the privacy rules regarding individually
                                 27             identifiable health information, see 45 C.F.R. § 164.306(a)(3);
                                                (e) Ensure compliance with the HIPAA security standard rules by its workforce, see 45
                                 28             C.F.R. § 164.306(a)(4); and
                                                                                  21
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                                             (f) Effectively train all members of its workforce on the policies and procedures with
                                 1           respect to protected health information as necessary and appropriate for the members of
                                 2           its workforce to carry out their functions and to maintain security of protected health
                                             information in violation of 45 C.F.R. § 164.530(b).
                                 3
                                             91.     Plaintiffs and Class Members are within the class of persons that HIPAA was
                                 4
                                      intended to protect.
                                 5
                                             92.     Defendants violated the above listed regulations by disclosing the PII to third
                                 6
                                      parties and by failing to implement adequate security measures to protect the PII, including
                                 7
                                      failing to:
                                 8             (a) Implement technical policies and procedures for electronic information systems that
                                               maintain electronic protected health information to allow access only to those persons or
                                 9             software programs that have been granted access rights;
                                               (b) Implement policies and procedures to prevent, detect, contain, and correct security
                                 10
                                               violations;
                                 11            (c) Protect against any reasonably anticipated threats or hazards to the security or
                                               integrity of electronic protected health information;
                                 12            (d) Protect against reasonably anticipated uses or disclosures of electronic protected
                                               health information that are not permitted under the privacy rules regarding individually
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                                 13            identifiable health information;
                                               (e) Ensure compliance with the HIPAA security standard rules by its workforce; and
                                 14
                                               (f) Effectively train all members of its workforce on the policies and procedures with
                                 15            respect to protected health information as necessary and appropriate for the members of
                                               its workforce to carry out their functions and to maintain security of protected health
                                 16            information.
                                 17          93.      Defendants also violated §§ 164.404 (2009) and 164.402 (2009) by failing to

                                 18   provide timely notice of the breach to Plaintiffs and the Class Members.

                                 19          94.     The harm that occurred as a result of the security breach is the type of harm that

                                 20   HIPAA was intended to guard against. HIPAA directly requires subject entities to protect the

                                 21   health information of individuals such as Plaintiffs and the Class Members.

                                 22          95.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

                                 23   commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

                                 24   businesses, such as Defendants, of failing to use reasonable measures to protect Private

                                 25   Information. The FTC publications and orders described above also form part of the basis of

                                 26   Defendants’ duty in this regard.

                                 27          96.     Plaintiffs and Class Members are within the class of persons that the FTC Act

                                 28   was intended to protect.
                                                                                 22
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                                 1           97.     Defendants violated Section 5 of the FTC Act by failing to use reasonable
                                 2    measures to protect Private Information and not complying with applicable industry standards,
                                 3    as described herein. Defendants’ conduct was particularly unreasonable given the nature and
                                 4    amount of PII it obtained and stored, and the foreseeable consequences of a data breach at a
                                 5    company as large as Defendants’, including, specifically, the damages that would result to
                                 6    Plaintiffs and Class members.
                                 7           98.     The harm that occurred as a result of the security breach is the type of harm the
                                 8    FTC Act was intended to guard against. The FTC has pursued enforcement actions against
                                 9    businesses, which, as a result of their failure to employ reasonable data security measures and
                                 10   avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiffs and
                                 11   Class Members.
                                 12          99.     Defendants’ failure to comply with applicable laws and regulations constitutes
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                                 13   negligence per se.
                                 14          100.    In addition to their obligations under state and federal law, Defendants owed a
                                 15   duty to Plaintiffs and the Class Members to exercise reasonable care in obtaining, retaining,
                                 16   securing, safeguarding, deleting, and protecting the PII in their possession from being
                                 17   compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendants owed a
                                 18   duty to Plaintiffs and the Class Members to provide reasonable security, including consistency
                                 19   with industry standards and requirements, and to ensure that their computer systems and

                                 20   networks, and the personnel responsible for them, adequately protected the PII of Plaintiffs and
                                 21   the Class Members.
                                 22          101.    Defendants owed a duty to Plaintiffs and the Class Members to design, maintain,
                                 23   and test their computer system to ensure that the PII in Defendants’ possession was adequately
                                 24   secured and protected.
                                 25          102.    Defendants owed a duty to Plaintiffs and the Class Members to create and

                                 26   implement reasonable data security practices and procedures to protect the PII in their
                                 27   possession, including adequately training their employees and others who accessed PII within
                                 28   their computer systems on how to adequately protect PII.
                                                                                23
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                                 1               103.   Defendants owed a duty to Plaintiffs and the Class Members to implement
                                 2    processes that would detect a breach of their data security systems in a timely manner.
                                 3               104.   Defendants owed a duty to Plaintiffs and the Class Members to act upon data
                                 4    security warnings and alerts in a timely fashion.
                                 5               105.   Defendants owed a duty to Plaintiffs and the Class Members to disclose if their
                                 6    computer systems and data security practices were inadequate to safeguard individuals’ PII
                                 7    from theft because such an inadequacy would be a material fact in the decision to purchase
                                 8    insurance or other health care services from Defendants’ or to entrust PII with Defendants.
                                 9               106.   Defendants owed a duty to Plaintiffs and the Class Members to disclose in a
                                 10   timely and accurate manner when data breaches occurred.
                                 11              107.   Defendants owed a duty of care to Plaintiffs and the Class Members because
                                 12   they were foreseeable and probable victims of any inadequate data security practices.
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                                 13   Defendants collected Plaintiffs’ and the Class Members’ PII. Defendants knew that a breach of
                                 14   their data systems would cause Plaintiffs and the Class Members to incur damages.
                                 15              108.   Defendants breached those duties of care by adopting inadequate safeguards to
                                 16   protect the PII, and, on information and belief, failing to adopt industry-wide standards in their
                                 17   supposed protection of the PII, resulting in the disclosure of the PII to unauthorized third
                                 18   parties.
                                 19              109.   As a direct and proximate result of Defendants’ failure to adequately protect and

                                 20   safeguard the PII, Plaintiffs and the Class members suffered damages. Plaintiffs and the Class
                                 21   Members were damaged because their PII was accessed by third parties, resulting in increased
                                 22   risk of identity theft and theft of property, and for which Plaintiffs and the Class members were
                                 23   forced to adopt costly and time-consuming preventive and remediating efforts. Plaintiffs and
                                 24   the Class Members were also damaged in that they paid for services in an amount that they
                                 25   would have refused to pay had they known that Defendants would not protect their PII.

                                 26   Plaintiffs and the Class Members accepted pricing terms which they would not have agreed to
                                 27   had they known that Defendants would not protect their PII.
                                 28              110.   Defendants acted with wanton disregard for the security of Plaintiffs’ and the
                                                                                   24
                                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    Class Members’ PII. Defendants knew or should have known that Defendants had inadequate
                                 2    computer systems and data security practices to safeguard such information, and Defendants
                                 3    knew or should have known that hackers were attempting to access the PII of health care related
                                 4    companies’ databases, such as Defendants’.
                                 5           111.     The injury and harm suffered by Plaintiffs and the Class Members was the
                                 6    reasonably foreseeable result of Defendants’ breach of their duties. Defendants knew or should
                                 7    have known that they were failing to meet their duties, and that Defendants’ breach would cause
                                 8    Plaintiffs and the Class Members to experience the foreseeable harm associated with the
                                 9    exposure of their PII.
                                 10          112.     A “special relationship” exists between Defendants and Plaintiffs and the Class
                                 11   Members.      Defendants entered into a “special relationship” with Plaintiffs and the Class
                                 12   Members when they contracted with Plaintiffs’ and the Class Members’ medical providers and
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                                 13   insurers and obtained Plaintiffs’ and the Class Members’ PII from them. As providers of health
                                 14   care related services, Defendants stand in a fiduciary or quasi-fiduciary relationship with
                                 15   Plaintiffs and the Class Members.
                                 16          113.     Plaintiffs and the Class Members have suffered monetary injury in fact as a
                                 17   direct and proximate result of the acts committed by Defendants as alleged herein in an amount
                                 18   to be proven at trial but in excess of the minimum jurisdictional amount of this Court.
                                 19

                                 20
                                                                           PRAYER FOR RELIEF
                                 21
                                             WHEREFORE, Plaintiffs, individually and on behalf of the Class, prays for relief as
                                 22
                                      follows:
                                 23
                                             1.       For compensatory damages in an amount according to proof at trial;
                                 24
                                             2.       For affirmative injunctive relief mandating that Defendants implement and
                                 25
                                      maintain reasonable security procedures and practices to protect Plaintiffs’ and Class Members’
                                 26
                                      PII from unauthorized access, destruction, use, modification, or disclosure;
                                 27
                                             3.       For costs of suit and litigation expenses;
                                 28
                                                                                 25
                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1            4.      For attorneys’ fees under the common fund doctrine and all other applicable law;
                                 2    and
                                 3            5.      For such other and further relief as this Court may deem just and proper.
                                 4
                                 5                                       DEMAND FOR JURY TRIAL
                                 6            Plaintiffs, on behalf of themselves and all others similarly situated, hereby demands a
                                 7    jury trial for all claims so triable.
                                 8    Dated: August 28, 2019                                  Respectfully submitted,
                                 9                                                     /s/ David C. Indiano
                                                                                      David C. Indiano USDC Bar No. 200601
                                 10                                                   Jeffrey M. Williams USDC Bar No. 202414
                                                                                      Vanesa Vicéns-Sánchez USDC Bar No. 217807
                                 11                                                   Christopher A. Dávila USDC Bar No. 304103
                                                                                      INDIANO & WILLIAMS, P.S.C.
                                 12
                                                                                        /s/ Thiago M. Coelho
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                                 13                                                    Thiago M. Coelho*
                                 14                                                    Justin F. Marquez*
                                                                                       Robert Dart*
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                                                                                        (pro hac vices forthcoming)
                                 16
                                                                                       Attorneys for Plaintiffs and the proposed class
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                                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
